Case 18-17134-elf    Doc 19-4 Filed 03/25/19 Entered 03/25/19 18:41:47   Desc
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Case 18-17134-elf    Doc 19-4 Filed 03/25/19 Entered 03/25/19 18:41:47   Desc
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Case 18-17134-elf    Doc 19-4 Filed 03/25/19 Entered 03/25/19 18:41:47   Desc
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Case 18-17134-elf    Doc 19-4 Filed 03/25/19 Entered 03/25/19 18:41:47   Desc
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